     Case 3:14-cr-00128-DMS   Document 28    Filed 02/13/14   PageID.54   Page 1 of 1



                      UNITED STATES DISTRICT COURT              ~
                    SOUTHERN DISTRICT OF CALI FORNI
                                                                I
                                                                I



UNITED STATES OF AMERICA,                   CASE NO. 14CR128

                     Plaintiff,
              vs.                           JUDGMENT OF DISMISSAL
ALFONSO MENDOZA-PACHECO (2),

                     Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

     an indictment has been filed in another case against the defendant and
     the Court has granted the motion of the Government for dismissal of
     this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

__
 X__ the Court has granted the motion of the Government for dismissal,
     without prejudice; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

__
 X__ of the offense(s) as charged in the Indictment/Information:

     8: 1324 (a) (1) (A) (iv) and (v) (II) - Inducing and Encouraging Illegal


     Illegal Aliens to Enter the United States and Aiding and Abetting


          IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.




 DATED: 2/13/2014                                                         -
                                            Mitchell D. Dembin
                                            U.S. Magistrate Judge
